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AFFIDAVIT FOR SEARCH WARRANT

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FILE NO. | / /
Commonwealth of Virginia VA. CODE § 19.2-54
. : AFFIDAVIT FOR
The undersigned Applicant states under oath: SEARCH WARRANT
i. A search is requested in relation to [><] an offense substantially described as follows: .
: : : APPLICANT:
[ ]a person to be arrested for whom a warrant or process for arrest has been issued identified as follows:
J.P. Hylton
Code ofVirginia 182-58:Robbey Ys AMOR.
Code of Virginia 18.2-53.1: Use of a Firearm in Commission of a Felony
Master Detective
TITLE OF ANY}
oe P.O. Box 148 _.
ADDRESS
sninneinninnennnse Chesterfield, VA 20832 emmunne
Certified to Clerk of
[ ] CONTINUED ON ATTACHED SHEET C b |
: : . i e. .
2. The place, person or thing to be searched is described as follows: sensescatesseecased Nestent. CT ccacssuestane Circuit Court

Google LLC, which is headquartered at 1600 Google Amphitheater Parkway, Mountain View,
California 94043, and applies to Target Location: Geographical area pertaining to a radius of 150
meters around a latitude/longitude coordinate, Latitude: 37.438420, Longitude: -77.587900. It is your
affiant's belief that the records requested are actually possessed by Google LLC, and that Google
LLC provides electronic communication service or remote computing service within the
Commonwealth of VA. (See Attachment I. for Additional Information)

[ ] CONTINUED ON ATTACHED SHEET

3. The things or persons to be searched for are described as follows:
See Attachment Il.

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FORM DC-338 (MASTER, PAGE ONE OF TWO) 07/17

TITLE SIGNATURE

by electronically transmitted facsimile

] by use of filing/security procedures
defined in the Uniform Electronic
Transactions Act

to Clerk of hes £. ud (2 ( of Cireuit Court
CITY OR COUNTY WHERE EXECUTED
OM nn aliG

Original rene Dre { ] by certified mail

DATE

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TITLE SIGNATURE

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4. The material facts constituting probable cause that the search should be made are: ALL INFORMATION SEALER

See Attachment Ill.

The object, thing or person searched for PX] constitutes evidence of the commission of such offense [ ] is the person to be arrested for whom a warrant or
process for arrest has been issued.

[<x] I have personal knowledge of the facts set forth in this affidavit AND/OR

[ ] Iwas advised of the facts set forth in this affidavit, in whole or in part, by one or more other person(s). The credibility of the person(s) providing this
information to me and/or the reliability of the information provided may be determined from the following facts:

Your affiant has over seven years of law enforcement experience stemming from employment as a police officer with the Chesterfield County Police
Department. The undersigned is a duly appointed Task Force Officer with the Federal Bureau of Investigation (FBI). Your affiant is assigned to the
Richmond FBI's Central Virginia Violent Crimes Task Force, where his duties include investigating extraterritorial offenses, commercial and bank
robberies, murder, kidnappings, serial offenses, armed carjackings, and theft of government property. The undersigned has investigated numerous
criminal violations and obtained multiple arrest and search warrants, culminating in the successful prosecution of their respective offenders. Your
affiant is familiar with the methods violent offenders use to conduct their illegal activities, to include their communication techniques, utilization of

The statements above are true and accurate to the best of my knowledge and belief.

Master Detective
TITLE OF APPLICANT

APPLICANT

Subscribed and sworn to before me this day.

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" { JOLERK = L-PYMagistraTe ~~ [ ] JUDGE

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by
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ALL INFORMATIO:

ATTACHMENT I.
PERSON, PLACE, OR THING TO BE SEARCHED:

This data is maintained on computer servers that are stored at premises controlled by
Google Inc., a company that accepts service of legal process at 1600 Amphitheater

Parkway, Mountain View, California 94043,

Your affiant knows that Google Inc. maintains certain records during the normal course
of business and when properly served with a legal request, Google Inc. will provide Law
Enforcement with the said records. Your affiant also knows that these electronic records
will further support the ongoing criminal investigation. Your affiant believes that the
records requested are actually or constructively possessed by a foreign corporation,
Google Inc. that provides electronic communication service or remote computing service

within the Commonwealth of Virginia.

Your affiant knows that section 19.2-70.3 of the Code of Virginia states that a provider of
electronic communication service or remote computing service, which includes a foreign
corporation that provides such services, shall disclose certain business records pertaining
to their customers, excluding the contents of electronic communications and real-time
location data, to an investigative or law-enforcement officer if the investigative or law-
enforcement officer shows that there is reason to believe the records or other information
sought are relevant and material to an ongoing criminal investigation. This warrant shall
be properly served on the entity named above in accordance with 19.2-70.3 of the code of

Virginia.
A law enforcement officer will serve this warrant by transmitting it via email or another

appropriate manner to the Provider, Google Inc. The Provider is directed to produce to
the law enforcement officer an electronic copy of the information specified in

ATTACHMENT IL

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ATTACHMENT Il.
THE PLACE, PERSON OR THING TO BE SEARCHED:

The facts and circumstances outlined in this affidavit brought on by your Affiant suggest
that there is probable cause to believe evidence of the commission of the crime of
Robbery, a violation of Virginia Code 18.2-58 and Use of a Firearm in Commission of
a Felony, a violation of Virginia Code 18.2-53.1, may be found within computer servers
maintained or controlled by Google, Inc. or Google Payment Corp. Such accounts are
described further in ATTACHMENT IL (hereinafter “the Accounts”) stored at premises
controlled by Google, Inc., a company that accepts service of legal process at 1600
Amphitheatre Parkway, Mountain View, California 94043. The following material is
sought for the time period listed below:

® Date/Time: 05/20/2019 at 1620 hours (EST) — 05/20/2019 at 1720 hours (EST)

® For each type of Google account that is associated with a device that was inside
the geographical area described further in ATTACHMENT IL, during the time
frame listed above, Google will provide “anonymized information” regarding
the Accounts that are associated with a device that was inside the described
geographical area during the time frame described above. This “anonymized
information” will include a numerical identifier for the account, the type of
account, time stamped location coordinates and the data source that this
information came from if available. The information initially provided by Google
will not contain any further content or information identifying the user of a
particular device or account. -

¢ Law enforcement officers will review this “anonymized information” provided
by Google, Inc. in an effort to narrow down the list of accounts associated with
devices identified in the "anonymized information." Law enforcement officers
will attempt to narrow down the list by reviewing the time stamped location
coordinates for each account and comparing that against the known time and
location information that is specific to this crime.

e Law enforcement officers will return a list that they have attempted to narrow
down. This list will stitl-be identified by the “anonymized information”
described above. After this review by Law Enforcement and upon request,
Google, Inc. shall produce “contextual data points with points of travel outside of
the geographical area” described further in ATTACHMENT IL of this Application
for Search Warrant. The time frame will be expanded for this production of
“contextual data points with points of travel outside of the geographical area” for
30 minutes before AND 30 minutes after the initial search time periods. This
expanded time frame will be as listed below (Google Inc. shall provide this
additional information to Law Enforcement for review):

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ALL INFORMATION SEALED
o Date/Time: 05/20/2019 at 1620 hours (EST) — 05/20/2019 at 1720 hours (EST)
(+/- 30 Minutes) Eastern Standard Time (EST)

e Law Enforcement officers will review this additional information along with the
“anonymized information” and will attempt to narrow down the list by
comparing this additional information regarding travel and time against the known
time and location information that is specific to this crime.

e After review and upon request by Law Enforcement, Google Inc. shall provide
identifying account information/CSI for the accounts requested by Law
Enforcement. This identifying account information/CSI shall include all of the
following that are available: user name and subscriber information to include date
of birth if available, account type and account number, email addresses associated
with the account, electronic devices associated with the account and their
identifying make, model and other identifying numbers, telephone numbers
associated with the account including telephone numbers used to set up the
account, verify the account or to receive assistance with the account, and Google
Voice phone numbers associated with the account.

This search warrant applies to the Google Accounts associated with devices that were
located inside the geographical regions bounded by the following latitudinal and
longitudinal coordinates, dates, and times:

Date/Time: 05/20/2019 at 1620 hours (EST) — 05/20/2019 at 1720 hours (EST)
Geographical Area: Radius of 150 meters around a latitude/longitude coordinate,

Latitude: 37.438420, Longitude: -77.587900. **An area encompassing the Call Federal
Credit Union and an adjacent business the UNSUB fled towards following the robbery**

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ATTACHMENT U1.
MATERIAL FACTS CONSTITUTING PROBABLE CAUSE:

The Affiant swears to the following facts to establish probable cause for the issuance of a
search warrant:

On 05/20/2019 at approximately 1650 hours, an unknown subject (UNSUB) entered the
Call Federal Credit Union, HI Call Federal Drive, Chesterfield, VA 23235. After
entering the bank, the UNSUB approached a teller line and presented a demand note
stating the following:

“[’ve been watching you for sometime now, I got your family as hostage and I know
where you live, If you or your coworker alert the cops or anyone your family and you are
going to be hurt. I got my boys on the lookout out side. The first cop car they see am
going start hurting everyone in sight, hand over all the cash, I need at least 100k and
nobody will get hurt and your family will be set free. Think smartly everyone safety is
depending and you and your coworkers action so I hope they don’t try nothing stupid.”

After reading the note, the victim-teller advised she did not have access to that amount of
money; subsequently, the UNSUB produced a silver and black firearm from his waste and
began forcing the customers and employees to the center of the room. After forcing
several patrons to the floor at gunpoint, the UNSUB moved the manager and other parties
present to the back of the business where the vault was located. The UNSUB forced the
manager to open the vault and place $195,000.00 of United States currency into a bag he
brought with him. After acquiring said funds, the UNSUB fled the area on foot towards
an adjacent business, west of the bank.

Upon investigative response, law enforcement officials reviewed the bank’s surveillance
video prior to the robbery and noted the UNSUB had a cell phone in his right hand and
appeared to be speaking with someone on the device. Subsequently, your affiant finds it
necessary and prudent to request that Google provide Geo Fencing data in order to assist

- with the investigation, In the undersigned's training and experience, when people act in
concert with one another to commit a crime, they frequently utilize cellular telephones
and other such electronic devices, to communicate with each other through WiFi,
Bluetooth, GPS, voice calls, text messages, social media accounts, applications, emails,
and/or cell towers in the area of the victim-business, located at Call Federal Drive,
Chesterfield, Virginia 23235. Furthermore, the requested data/information would have
been captured by Google during the requested time.

This applicant knows a cellular telephone or mobile telephone is a handheld wireless
device primarily used for voice, text, and data communication through radio signals.

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Cellular telephones send signals through networks of transmitter/receivers called “cells”
or “cell sites,” enabling communication with other cellular telephones or traditional
“landline” telephones. Cellular telephones rely on cellular towers, the location of which
may provide information on the location of the subject telephone. Cellular telephones
may also include global positioning system (“GPS”) or other technology for determining
a more precise location of the device.

This applicant also knows that Google is a company, which, among other things, provides
electronic communication services to subscribers, including email services. Google
allows subscribers to obtain email accounts at the domain name gmail.com and/or
google.com. Subscribers obtain an account by registering with Google. A subscriber
using the Provider’s services can access his or her email account from any
computer/device connected to the Internet.

This applicant knows that Google has also developed a proprietary operating system for
mobile devices, including cellular phones, known as Android. Nearly every cellular
phone using the Android operating system has an associated Google account, and users
are prompted to add a Google account when they first turn on a new Android device.

Based on this applicant’s training and experience, this applicant knows that Google
collects and retains location data from Android-enabled mobile devices when a Google
account user has enabled Google location services. Google can also collect location data
from non-Android devices if the device is registered to a Google account and the user has
location services enabled. The company uses this information for location-based
advertising and location-based search results and stored such data in perpetuity unless it is
manually deleted by the user. This location information is derived from GPS data, cell
site/cell tower information, Bluetooth connections, and Wi-Fi access points.

This applicant knows that location data can assist investigators in forming a fuller
geospatial understanding and timeline related to a specific criminal investigation; and
may tend to identify potential witnesses and/or suspects. Such information can also aid
investigators in possibly inculpating or exculpating persons of interest.

Additionally, location information can be digitally integrated into image, video, or other
computer files associated with a Google account and can indicate the geographic location
of the account's user at a particular date and time (e.g., digital cameras, including on
cellular telephones, frequently store GPS coordinates indicating where a photo was taken
in the “metadata” of an image file).

Your affiant knows that in the September 2013 Pew Research Center study, it was
determined that 91% of American adults own a cellular phone with 56% being
smartphones. Pew Research Center is located at 1615 L St. NW, Suite 800 Washington,
DC 20036 and conduct public opinion polling, demographic research, content analysis
and other data-driven social science research. Because of this, your Affiant believes that
there is probable cause to believe that the offender(s) in the robbery would have had a
mobile device on their person or within close proximity to them.

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SEARCH WARRANT

Commonwealth of Virginia VA. CODE §§ 19.2-56, 19.2-57

TO ANY AUTHORIZED OFFICER:
You are hereby commanded in the name of the Commonwealth to forthwith search the following place, person

_ or thing either in day or night

Google, LLC. which is headquartered at 1600 Google Amphitheater Parkway, Mountain View, California 94043 -
Probable cause that the records are possessed by a foreign corporation that provides electronic communication
service orremote computing service within Virginia.

for the following property, objects and/or persons:
See Attached 6 propeny, O°} P

You are further commanded to seize said property, persons, and/or objects if they be found and to produce before
the . Chesterfield

This SEARCH WARRANT is issued in relation to [A] an offense substantially described as follows:
[ ] a person to be arrested for whom a warrant or process for arrest has been issued identified as follows:

Code of Virginia 18.2-58 Robbery
Code of Virginia 18.2-53.1 Use of a Firearm in the Commission of a Felony

I, the undersigned, have found probable cause to believe that the property or person constitutes evidence of the crime
identified herein or tends to show that the person(s) named or described herein has committed or is committing a crime, or
that the person to be arrested for whom a warrant or process for arrest has been issued is located at the place to be searched,
and further that the search should be made, based on the statements in the attached affidavit sworn to by

Hylton, J.P. CPD

‘ NAME OF AFFIANT ,
, [ ]CLERK [XJ MAGISTRATE { ] JUDGE

David Bishop

sever POLTALZ0 19. 10206 AM. nncneememmnnenneie

DATE AND TIME

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FILE NO.

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SEARCH WARRANT

COMMONWEALTH OF VIRGINIA

v.iln re

Google LLC

Circuit Court an inventory of all property, persons, and/or objects seized.

Return to —
Circuit Court

SWN: 0410M1900017880

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SEARCH INVENTORY AND RETURN

The following items, and no others, were seized under authority of this WARRANT:

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EXECUTION

Executed by searching the within described
place, person or thing.

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" DATE

Subscribed and sworn before x me this day

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DATE: |

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[ ] CLERK = [ ] JUDGE

FOR NOTARY PUBLIC’S USE ONLY:

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Acknowledged, subscribed and sworn to before me this ............ Gay Of oe ccc cet e eer ee eee 720 oe.
— NOTARY REGISTRATION NUMBER NOTARY PUBLIC

(My commission expires: ..........ccceeserec eres ner cere sees }

Received [Tin person [ ] by certified mail
[ ] by electronically transmitted
facsimile

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ATTACHMENT |.
THE PLACE, PERSON OR THING TO BE SEARCHED:

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that there is probable cause to believe evidence of the commission of the crime of
Robbery, a violation of Virginia Code 18.2-58 and Use of a Firearm in Commission of
a Felony, a violation of Virginia Code 18,.2-53.1, may be found within computer servers
maintained or controlled by Google, Inc. or Google Payment Corp. Such accounts are
described further in ATTACHMENT II. (hereinafter “the Accounts”) stored at premises
controlled by Google, Inc., a company that accepts service of legal process at 1600
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the geographical area described further in ATTACHMENT IL, during the time
frame listed above, Google will provide “anonymized information” regarding
the Accounts that are associated with a device that was inside the described
geographical area during the time frame described above. This “anonymized
information” will include a numerical identifier for the account, the type of
account, time stamped location coordinates and the data source that this
information came from if available. The information initially provided by Google
will not contain any further content or information identifying the user of a
particular device or account.

° Law enforcement officers will review this “anonymized information” provided
by Google, Inc. in an effort to narrow down the list of accounts associated with
devices identified in the "anonymized information." Law enforcement officers
will attempt to narrow down the list by reviewing the time stamped location
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location information that is specific to this crime.

® Law enforcement officers will return a list that. they have attempted to narrow
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© Date/Time: 05/20/2019 at 1620 hours (EST) — 05/20/2019 at 1720 hours (EST)
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time and location information that is specific to this crime.

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identifying account information/CSI for the accounts requested by Law
Enforcement. This identifying account information/CSI shall include all of the
following that are available: user name and subscriber information to include date
of birth if available, account type and account number, email addresses associated
with the account, electronic devices associated with the account and their
identifying make, model and other identifying numbers, telephone numbers
associated with the account including telephone numbers used to set up the
account, verify the account or to receive assistance with the account, and Google
Voice phone numbers associated with the account.

This search warrant applies to the Google Accounts associated with devices that were
located inside the geographical regions bounded by the following latitudinal and
longitudinal coordinates, dates, and times:

Date/Time: 05/20/2019 at 1620 hours (EST) — 05/20/2019 at 1720 hours (EST)

Geographical Area: Radius of 150 meters around a latitude/longitude coordinate,
Latitude: 37.438420, Longitude: -77.587900. **An area encompassing the Call Federal
Credit Union and an adjacent business the UNSUB fled towards following the robbery**

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